
27 N.Y.2d 917 (1970)
In the Matter of The Estate of Jesse Carll, Deceased. Dolly M. Wright, as Executrix of Jesse C. Wright, Deceased, Successor Trustee, et al., Respondents; Curtis P. Wright, Appellant.
Court of Appeals of the State of New York.
Argued November 16, 1970.
Decided December 9, 1970.
Sanford Solarz and Everett Frooks for appellant.
Frank J. Mack for objectors-respondents.
No appearance for petitioner-respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed on the opinion at the Appellate Division, with costs to all parties appearing separately and filing separate briefs payable out of the estate.
